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Exhibit E

Unofficial transcript of telephone call between Ali Milani and
Phanideep Karnati (December 8, 2018)
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Karna ‘lone and only Ww / Bp im meena 4

In-S-1E_
Ali: Hello
Phanideep: Hey hi Ali, How are you?
Ali: Phanideep Karnati, how are you?
Phanideep: doing good
Ali: did you ever get my messages? i called you couple of times and left a message
_ Phanideep: I am really sorry if i miss them. but i really yup

Ali: busy

Phanideep: not exactly not busier than you .probably somehow i missed i am really
sorry -

Ali: no problem no problem
Phanideep: generally many. students would calling me so
Ali: yeah

Phanideep: when i am at work i just try to answer them later but i think i am
missing ...ali. yeah ali
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Ali: Did you ever ... talk with Santosh?

Phanideep: yeah yes yes

Ali: did santosh explain to you what's going on here? or not?
Phanideep: you are right exactly yeah he explained me

Ali: he explain to you that you know we have investers we are trying to expand to
California and other states we need to

recrute the guys who can

Phanideep: exactly

Ali: so would be able to come here on 30th. come here on 29th and we will have
meeting on 36th.

Phanideep: 29th? you want me to come there on 29th?
Ali: are you still ih Lowtevttle?

Phanideep: i am in Louisville.

Ali: ok

Phanideep: how about 28 th? would that be fine?
“ys
1%

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Ali: for the neeting is actually on 30th. so,
Phanideep: 30th ok

Ali: i mean i don't you know

Phanideep: yeah i understand

Ali: you don't want to do 2 days

Phanideep: no no then i am fine. i have other comittments also. i wil do one thing.
so the 3@ th what time the meeting will be there ali?

Ali: 8 AM it's in the morning

Phanideep: Ho 8 AM. That's perfectly fine then. i will come i will come there -on 30
th i mean 29 th night i will be reaching there

Ali: ok
Phanideep: and the
Ali: you gonna drive up? or you gonna fly up?

Phanideep: i will go into drive probably that's what i am thinking
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Ali: alright. you know what we will keep in touch i will give you call when you guys
...to basically finalize the meeting and everything ok?

Phanideep:

missing

Ali: sure

Phanideep:

Ali: 248

Phanideep:

Ali: 762

Phanideep:

Ali: 6316

Phanideep:

definitely ali. ali can i get you number probably that's the reason why i

why i missing so that i can store that number

just give me a second 248

702

6 3 16 righte

Ali: anything on those other scholls anything like that we talked about no nothing?

Phanideep: you mean to say to move the students out?
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Ali: yeah

Phanideep: nothing much Ali on that one like they are they are students are very
much comfortable with Farmington. but we can we can definitely

talk about that one also

Ali: How is WIlliam jessup doing? you talk with them? ae the day
Phanideep: right right

Ali: are they bringing a lot of people? or no

Phanideep: not too much. they are ok i mean not too much they are ok not big as
Farmington. farmington is better farmington is better for

anybody to promote actually
Ali: yeah
Phanideep: yeah

Ali: you know i had another question do you do you actually charge these students
that you... to like williamjessup and those other schools? or no?

Phanideep: No No ali

Ali: so you just get same type of arrangement you will get money on other end
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Phanideep: Right exactly yeah yeah

Ali: alright sounds good. so i will give a cal some time in early January may be
like you know 1 st or 2nd week of january and we will try to finalize

our plans
Phanideep: yeah sure
Ali:

Phanideep: yeah sure thank you bye bye
